UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF MICHIGAN

COVER SHEET FOR AMENDMENTS
a Lal = , oo 7 = :
Case Name: 0 Sa 32 1 AAW) CNAW WING caseNo.: 20° SPS

DESCRIBE INFORMATION BEING AMENDED BY CHECKING APPLICABLE BOX(ES) BELOW:

C) Amendment to Petition:
QO) Name U Debtor(s) Mailing Address O Alias
QO Signature O Complying with Order Directing the Filing of Official Form(s)
CL) Summary of Your Assets and Liabilities and Certain Statistical Information
Statement of Financial Affairs
( Schedules and List of Creditors:
QO) Schedule A/B
(¥ Schedule C O Debtor 2 Schedule C

O) List of Creditors OC) Schedule D UO) Schedule E/F and
Q) Add creditor(s), provide address of creditor already on the List of Creditors, change amount or

classification of debt - $31.00 Fee Required, or
O) Change address of a creditor already on the List of Creditors — No Fee Required
QO) Schedule G
QO) Schedule H
QO) Schedule |
Q) Schedule J
O Schedule J-2.

NOTE: Use Page 2 for any corrections or additions to the List of Cred itors.

Additional Details of Amendment(s):

=» DECLARATION OF ATTORNEY: | declare that the above information contained on this cover sheet may be
relied upon by the Clerk of the Court as a complete and accurate summary of the information contained in
the documents attached.

Date Signature

» AFFIRMATION OF DEBTOR(S): | declare under penalty of perjury that | have read this cover sheet and the
attached schedules, lists, statements, etc., and that they are true and correct to the best of my knowledge,

information and belief.

Date - ; Signature 7
02/27/2020 as oS
Date Signature

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CORRECTIONS FO THE LIST OF CREDITORS

Use this section to make corrections to the name(s) and address(es} of any creditar(s) listed on the current
schedules and List of Creditors.

PREVIOUS NAME/ADDRESS OF CREDITOR: PLEASE CHANGE TO:
PREVIOUS NAME/ADDRESS OF CREDITOR: PLEASE CHANGE TO:
PREVIOUS NAME/ADDRESS OF CREDITOR: PLEASE CHANGE TO:

ADDITIONS TO THE LIST OF CREDITORS

Use this section ta identify creditors added to the schedules and List of Creditors.

NAME OF CREDITOR:

ADDRESS;

NAME OF CREDITOR:

ADDRESS:
NAME OF CREDITOR:

ADDRESS:

prev oo "" FOR ADDITIONAL CORRECTIONS/ADDITIONS, COPY THIS SHEET AND CONTINUE,

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— ) (+
a ( «4
Debtor 1 / CAv{S RaAw Jf
First Name Middle Name Last Name
Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

United States Bankruptcy Court for the: EA Sta District of _ 1 ~

3. @OOF |
Case number Z is b ¢ j 5 O) Check if this is an
{i known) amended filing

Official Form 106C
Schedule C: The Property You Claim as Exempt 04/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.

a Identify the Property You Claim as Exempt

1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

uw You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
Q) You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

Brief description of the property and line on Current value of the Amount of the exemption you claim Specific laws that allow exemption
Schedule A/B that lists this property portion you own
Capy the value from Check only one box for each exemption.
Schedule A/B
Oe cat cellphone $ 85.00 Os
description: :
Line from Wi 100% of fair market value, up to
Schedule A/B; 7 any applicable statutory limit
el clothes, shoes, boot $ 200.00 QO
description: : $
Line from 4 100% of fair market value, up to
Schedule A/B: any applicable statutory limit
Brief
description: cash $25.00 Os
Line from ‘4 100% of fair markel value, up to
Schedule A/B: 16 any applicable statutory limit

3. Are you claiming a homestead exemption of more than $170,350?
(Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)

Wf No

C) Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?

UO) No
C) Yes

Official Form PE80Q33-jda Doc 24 FHed sso robo entery'0372 798 09:49:53 Page 3 of f6°'%—
Dabior 1 Case number ¢rknowa),

First Name Middle Name Last Name
ee Additional Page
Brief description of the property and line Current value of the Araount of the exemption you claim Specific laws that allow exemption
on Schedule A/B that lists this property portion you own
Copy the value from Check only one box for each exemption
Schedule A/B
Brief empower retirement. ¢ 765.00 O
description: : $
Line from Ud 100% of fair market value, up to
Schedule A/B: any applicable statutory limit
Brief
description: $ Os
Line from C) 100% of fair market value, up te
Schedule A/B: any applicable statutory limit
Brief
description: $ Os
Line from C) 100% of fair market vatue, up to
Schedule AB: any applicable statutory limit
Brief
description: $ O¢
Line from C1 100% of fair market value, up to
Schedule A/B: any applicable statutory limit
Brief
description: $ L$
Line from CO) 100% of fair market value, up to
Schedule AB: ~ ———— any applicable statutory limit
Brief
description: $ al $
Line from 1) 100% of fair market value, up to
Schedule A/B; any applicable statutory Fimit
Brief
description: $ Os
Line from CQ) 106% of fair market value, up to
Schedule A/B: any applicable statutory limil
Brief
description: $ Ls
Line from C) 109% of fair market value, up to
Schedule A/B:_ ———— any applicable statutory limit
Brief
description: $ Os
Line from C) 100% of fair market value, up to
Schedule A/B: any applicable statutory limit
Brief
description: $ Qs
Line from C) 100% of fair market value, up to
Schedule A‘B: any applicable statutory limit
Brief
description: 5 Os
Line from C3 100% of fair market value, up to
Schedule A‘: ——— any applicable statutory limit
Brief .
description: 5 Lig
Line from CO) 100% of fair market value, up to
Schedule AB: any applicable statutory limit

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UMMM cai licel eco CeIn a Colt acer: cies

7 KAS R~lAw

Debtor 1

Win ES

First Name Middle Name

Debtor 2

Last Name

(Spouse, if filing) First Name Middle Name

United States Bankruptcy Court for the:

Zo - 9033

Case number

District of

Last Name

(If known)

Official Form 107

Statement of Financial Affairs for Individuals Filing for Bankruptcy

UO) Check if this is an
amended filing

04/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case

number (if known). Answer every question.

a Give Details About Your Marital Status and Where You Lived Before

1. What is your current marital status?

@ Married
C) Not married

O No

Debtor 1:

So2  Kin6Sivaon ST

Number Street i

OyveAwe mz (8924

City State ZIP Code

lish6 Goodard Rp

Number Street

a ( ‘O(a
DuAhayd INT */8 424
City State ZIP Code

2. During the last 3 years, have you lived anywhere other than where you live now?

El Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

Dates Debtor1 Debtor 2:

lived there

OQ Same as Debtor 1

From DAI | B

Dates Debtor 2
lived there

O Same as Debtor 1

From

Number Street

To 0 & I

To

City
QO Same as Debtor 1

From 08 | Ib

State ZIP Code
QO Same as Debtor 1

From

Number Street

To og lif

To

City

State ZIP Code

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
i states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

O No

a Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

ERE exiain the Sources of Your Income

Official Form 107

Statement of Financial Affairs for Individuals Filing for Bankruptcy

page 1

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W In €)

Last Name

TR vis RY pv

Middle Name

Debtor 1

First Name

2 - $0 ;
Case number (ifkown) oO 3 DO 3 ae

4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

OO) No
L) Yes. Fill in the details.

Debtor 1

Sources of income
Check all that apply.

CL) Wages, commissions,

From January 1 of current year until bnieiee, tins

the date you filed for bankruptcy: Gs
perating a business

wi Wages, commissions,

For last calendar year: :
bonuses, tips

(January 1 to December 31 elo ) (2) operating a business

For the calendar year before that: I wages, COMIMSSONS,
bonuses, tips

(January 1 to December 31,2018 )

O} Operating a business
YYYY

Gross income

(before deductions and
exclusions)

s __ 27,247.00

$ 42,083.00

5. Did you receive any other income during this year or the two previous calendar years?
Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security,
unemployment, and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and
gambling and lottery winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

Debtor 2

Sources of income
Check all that apply.

Q Wages, commissions,

bonuses, tips
QO Operating a business

QC) Wages, commissions,
bonuses, tips

Q) Operating a business

Q) Wages, commissions,
bonuses, tips

QO Operating a business

List each source and the gross income from each source separately. Do not include income that you listed in line 4.

C) No
Lf Yes. Fill in the details.

Debtor 1

Sources of income
Describe below.

From January 1 of current year until unemployment _

Gross income from
each source

(before deductions and
exclusions)

2,144.00

Debtor 2

Sources of income
Describe below.

the date you filed for bankruptcy: $
$

For last calendar year: $
(January 1 to December 31,2019 _) $
YYYY §

For the calendar year before that:

(January 1 to December 31,2018)

vYYY

Gross income

(before deductions and
exclusions)

Gross income from
each source

(before deductions and
exclusions)

Official Form 107

Statement of Financial Affairs for Individuals Filing for Bankruptcy

page 2

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Debtor 1

T Rais Ria Win € ) Case number (if known) Z 9 $00 3 3

First Name Middle Name Last Name

ra List Certain Payments You Made Before You Filed for Bankruptcy

}
i
i

6. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?

C) No.

ul Yes.

Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
“incurred by an individual primarily for a personal, family, or household purpose.”

During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,825* or more?

U1 No. Go to line 7.

O1 Yes. List below each creditor to whom you paid a total of $6,825* or more in one or more payments and the
total amount you paid that creditor. Do not include payments for domestic support obligations, such as
child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.

* Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.

Debtor 1 or Debtor 2 or both have primarily consumer debts.
During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

a No. Go to line 7.

LI Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
creditor. Do not include payments for domestic support obligations, such as child support and
alimony. Also, do not include payments to an attorney for this bankruptcy case.

Dates of Total amount paid Amount you still owe Was this payment for...
payment
$ $ C) Mortgage
Creditors Name
QO) car

QO Credit card

Number Street

C) Loan repayment

C Suppliers or vendors

City State ZIP Code Q Other
$ $ O Mortgage
Creditors Name
QO) car

C) Credit card

Number Street
U1 Loan repayment

C) Suppliers or vendors

City State ZIP Code O) Other
$ $ Q Mortgage
Creditors Name
CQ) car

Q Credit card

Number Street
C) Loan repayment

QO Suppliers or vendors

City State ZIP Code O) other

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— f : i :
Debtor 1 / hay, ) WIN O Case number (if knawa), 2 O 320 3 5

First Name Middle Name Last Name

7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing
agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations,
such as child support and alimony.

YW No

Q] Yes. List all payments to an insider.

Dates of Total amount Amount you still Reason for this payment
payment paid owe
$ $.
Insider's Name
Number Street
City State ZIP Code
$ $

Insider's Name

Number Street

City State ZIP Code

8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited
an insider?
Include payments on debts guaranteed or cosigned by an insider.

& No

L] Yes. List all payments that benefited an insider.

Dates of Total amount Amount you still Reason for this payment

peyment pald as _ Include creditor's name Z
insiders Name $ $
Number Street
City State ZIP Code

$ $
Insider's Name
Number Street
City State ZIP Code
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TF avis

Debtor 1

RY aA

WIMES

First Name Middle Name

Last Name

Case number (if known), d O- $20 3g 3

a Identify Legal Actions, Repossessions, and Foreclosures

9. Within 4 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?

List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications,

and contract disputes.

O No
] Yes. Fill in the details.

Nature of the case Court or agency Status of the case
(LAWpLonD fs | Cf HM py Te
i Case title_( | CA ARD Ens Ww TEN Avr DI Sp ee ob DI : | fey Me QO Pending
| C IINA JO PYuTe /
| Yi reais Yin flo © Mak $7 C1 on apres
i 7 Number Street a Concluded
Case number | O “Qo 9 SC CoRulnh (NE Y 68 | /
City State ZIP Code
Case title STEVE n/ mint C LAND Lokp / 64" Di SrAlcr Cover QO) Pending
V TRavis Wive ) TE Aw Tr pl Spur F lio E MACK $7 O) onappeal
Number Street @ Concluded
Case number 1 “al q Y ee COL VANE i. g Y&s [ /
City State ZIP Code

10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
Check all that apply and fill in the details below.

GI No. Go to line 11.
C) Yes. Fill in the information below.

Date Value of the property

Describe the property

Creditors Name

Number Street Explain what happened

QO Property was repossessed.
O) Property was foreclosed.

QO) Property was garnished.

City State ZIP Code Q Property was attached, seized, or levied.

Describe the property Date Value of the property

Creditors Name

Number Street
Explain what happened
QC] Property was repossessed.
QO Property was foreclosed.
Gy is 4 Property was garnished.

Property was attached, seized, or levied.

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 5

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Debtor 1 T Aa j RAYA iv Wj NM € ) Case number (if known), 2 oO $003 S$

First Name Middle Name Last Name

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
accounts or refuse to make a payment because you owed a debt?

@ No

Q) Yes. Fill in the details.

Describe the action the creditor took Date action Amount
was taken

Creditors Name

Number Street

t ee Se

| City State ZIP Code Last 4 digits of account number: XXXX-—__

| 42. Within 4 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
creditors, a court-appointed receiver, a custodian, or another official?

2 No

QO Yes

{

Ee List Certain Gifts and Contributions

13, Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

E No

C) Yes. Fill in the details for each gift.

Gifts with a total value of more than $600 Describe the gifts Dates you gave Value
per person the gifts
$
Person to Whom You Gave the Gift
$
Number Street
City State ZIP Code
Person's relationship to you
Gifts with a total value of more than $600 Describe the gifts Dates you gave Value
per person eee S Eee the gifts
$
Person to Whom You Gave the Gift
$
Number Street
City State ZIP Code
Person's relationship to you
Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 6

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Debtor 1 / KAvis K YA nw W/n/E ) Case number (if known) Z9 300 g Z

First Name Middle Name Last Name

_ 14.Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

a No

Q) Yes. Fill in the details for each gift or contribution.

Gifts or contributions to charities Describe what you contributed Date you Value
that total more than $600 contributed

Charity's Name

Number Street

City State ZIP Code

Eo List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other
i disaster, or gambling?

BI No
CL] Yes. Fill in the details.

Describe the property you lost and Describe any insurance coverage for the loss Date of your Value of property

: how the loss occurred : oa. a loss lost
: Include the amount that insurance has paid. List pending insurance

i claims on line 33 of Schedule A/B: Property.

i

a List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone
you consulted about seeking bankruptcy or preparing a bankruptcy petition?
Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.
a No
C] Yes. Fill in the details.
Description and value of any property transferred Date paymentor Amount of payment
transfer was.
Person Who Was Paid —— . ss ia made
Number Street $
$.
City State ZIP Code
Email or website address
Person Who Made the Payment, if Not You
Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 7

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i x < 3 =>
Debtor 1 TRA Vi ) @ 1A Al WiWwe d Case number (if known), 2 9° J00 § g

First Name Middle Name Last Name

Description and value of any property transferred Date payment or Amount of
transfer was made payment

Person Who Was Paid

Number Street

Cily State ZIP Code

Email or website address

Person Who Made the Payment, if Not You

17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
promised to help you deal with your creditors or to make payments to your creditors?
Do not include any payment or transfer that you listed on line 16.

‘No

Cl Yes. Fill in the details.

Description and value of any property transferred Date paymentor Amount of payment
transfer was
i _ made
Person Who Was Paid | i
Number Street §
: $

City State ZIP Code

| 48. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
transferred in the ordinary course of your business or financial affairs?

Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).

Do not include gifts and transfers that you have already listed on this statement.

&) No
C) Yes. Fill in the details.

Description and value of property Describe any property or payments received Date transfer
transferred or debts paid in exchange was made
Person Who Received Transfer
Number Street
City State ZIP Code
Person's relationship to you
Person Who Received Transfer
Number Street
City State ZIP Code
Person's relationship to you
Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 8

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Debtor 4 T RA vi j Rk YA N WInv€ } Case number (it known) C) ~ j Oo 3 3

First Name Middle Name Last Name

| 49.Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you
are a beneficiary? (These are often called asset-protection devices.)

I No

CI Yes. Fill in the details.

Description and value of the property transferred Date transfer
was made

Name of trust

List Certaln Financlal Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit,
closed, sold, moved, or transferred?
Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,
brokerage houses, pension funds, cooperatives, associations, and other financial institutions.

& No

QO] Yes. Fill in the details.

Last 4 digits of account number Type of account or Date account was Last balance before
instrument closed, sold, moved, closing or transfer
or transferred
Name of Financial Institution
XXXX— Q Checking $
O Savings

Number Street
Q Money market

QO Brokerage

City State ZIP Code Q Other
XXXX+ O) checking $
Name of Financial Institution
QO Savings
Number Street O Money market

QO Brokerage

QO Other.

City State ZIP Code

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for
securities, cash, or other valuables?
No
L) Yes. Fill in the details.

Who else had access to it? Describe the contents Do you still
eee oe eee en eee oe 2 have it?
O1 No

Name of Financial Institution Nanie OQ) Yes
Number Street Number Street

City State ZIP Code
City State ZIP Code

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 9

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Debtor 1 | KA V/ ) Ran WIN€ ) Case number (if known) 20 - 300 3 $

First Name Middle Name Last Name

22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

[No

Q) Yes. Fill in the details.

Owner's Name

Number Street

Number Street

City State ZIP Code

City State ZIP Code

xa Give Details About Environmental Information

Who else has or had access to it? Describe the contents Do you still
_, have it?
t
| CI No
Name of Storage Facility Name i O Yes
¢
Number Street Number Street |
|
City State ZIP Code i
i
i
City __ State ZIP Code i
Le a identify Property You Hold or Control for Someone Else
23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,
or hold in trust for someone.
MW No
C1 Yes. Fill in the details.
Where is the property? Describe the property Value

For the purpose of Part 10, the following definitions apply:

including statutes or regulations controlling the cleanup of these substances, wastes, or material.

u Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or

utilize it or used to own, operate, or utilize it, including disposal sites.

_ @ Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
i substance, hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

a Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
hazardous or toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

4 No
Yes. Fill in the details.

Governmental unit Environmental law, if you know it
Name of site Governmental unit i
i
Number Street Number Street
City State ZIP Code
City State ZIP Code
Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy

Date of notice

page 10

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Debtor 1 7 RAVI 5 Ry A N WINE ) Case number (known) Zo 30033

First Name Middle Name Last Name

_ 26, Have you notified any governmental unit of any release of hazardous material?

BI No
C) Yes. Fill in the details.

Governmental unit Environmental law, if you know it Date of notice
; I
j i
Name of site Governmental unit |
Number Street Number Street
City State ZIP Code

City State ZIP Code

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

No

CI Yes. Fill in the details.

Court or agency Nature of the case — othe
Case title
Court Name QI Pending
CY on appeal
Number Street O Concluded
Case number City State ZIP Code i

i Give Detalls About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
Ci Asole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
(J A member of a limited liability company (LLC) or limited liability partnership (LLP)
Oa partner in a partnership
OQ) An officer, director, or managing executive of a corporation

C1 An owner of at least 5% of the voting or equity securities of a corporation

Q No. None of the above applies. Go to Part 12.
QO) Yes. Check all that apply above and fill in the details below for each business.
Describe the nature of the business Employer Identification number
Do not include Social Security number or ITIN.

Business Name

EIN: =
Number Street _ - ee
Name of accountant or bookkeeper Dates business existed
From To
City State ZIP Code nt eae
Describe the nature of the business Employer Identification number

i Do not include Social Security number or ITIN.
Business Name sense eee

EIN; mL
Number Street
Name of accountant or bookkeeper Dates business existed
From To
City State ZIP Code
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— di DP my 2 gx. te TZ
Debtor 1 / RA vi) AR lA fe Wine ) Case number (ifknown) ZO 500 ‘s S

First Name Middle Name Last Name

Employer Identification number
Do not include Social Security number or ITIN.

Describe the nature of the business

Business Name
EIN: age a pr ee
Numb Street : <
umber siree Name of accountant or bookkeeper Dates business existed
From To
City State ZIP Code

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
institutions, creditors, or other parties.

W No

QO) Yes. Fill in the details below.

Date issued

Name MMIDDIYYYY _

Number Street

City State ZIP Code

| have read the answers on this Statement of Financial Affairs and any attachments, and | declare under penalty of perjury that the
answers are true and correct. | understand that making a false statement, concealing property, or obtaining money or property by fraud
in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.

18 U.S.C. §§ 152, 1341, 1519, and 3571.

Ko OAS *

Signature of Debtor 1 Signature of Debtor 2

naw OAL | Lod ? Date

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

No
C) Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?

No
C) Yes. Name of person . Attach the Bankruptcy Petition Preparer’s Notice,
Declaration, and Signature (Official Form 119).
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